                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
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 FRANK “NITTY” SENSABAUGH,

        Plaintiff,

 v.                                               Case No. 20-CV-1502

 MICHAEL KRZNARICH, et al.,

        Defendants.

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                            NOTICE OF REMOVAL
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       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, defendants,

Michael Krznarich, Sarah Byers, Corie Richardson, Brandon Rogers, Daniel Humphreys, Steven

Haw, Tricia Carlson, and Milwaukee County (collectively, “defendants”), through their

undersigned counsel, as and for their Notice of Removal, set forth the following short and plain

statement of the grounds for removal of this action from the Milwaukee County Circuit Court.

       1.      On August 27, 2020, plaintiff, Frank Sensabaugh, filed this action, captioned Frank

“Nitty” Sensabaugh v. Michael Krznarich, et al., in the Milwaukee County Circuit Court under

Case No. 20-CV-5094. As required under 28 U.S.C. §1446(a), defendants attach hereto as Exhibit

1 (Summons and Complaint) and Exhibit 2 (Electronic Filings Notices) copies of all process,

pleadings, and orders served upon them in this action.

       2.      Defendants were each served with the summons and complaint in this case

beginning on September 2, 2020. The dates of service for the defendants were as follows: Michael

Krznarich – September 2, 2020; Sarah Byers – September 8, 2020; Corie Richardson – September

3, 2020; Brandon Rogers – September 3, 2020; Daniel Humphreys – September 15, 2020; Steven




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Haw – September 15, 2020; Tricia Carlson – September 3, 2020; and Milwaukee County,

September 2, 2020.

        3.     The removal of this action is timely, as this Notice of Removal is filed within thirty

days of service of the summons and complaint on defendants. See 28 U.S.C. § 1446(b)(1).

        4.     Further, through their undersigned counsel, each of the defendants joins in and

consents to the removal of this action. See 28 U.S.C. § 1446(b)(2).

        5.     This action is removable under 28 U.S.C. § 1441(a) because it is a civil action over

which this Court has original jurisdiction and because defendants are removing this case to the

United States District Court for the district and division embracing the place where the action is

pending. See 28 U.S.C. § 1441(a).

        6.     This Court has original jurisdiction over this action because the claims asserted

herein arise under the Constitution, laws, or treaties of the United States. See 28 U.S.C. § 1331.

Specifically, plaintiff asserts claims pursuant to 42 U.S.C. § 1983 for the alleged violation of his

rights under the First, Fourth, and Fourteenth Amendments to the United States Constitution and

for injunctive relief based on those alleged constitutional violations. (See Ex. 1, Complaint, ¶¶ 63-

114.)

        7.     Written notice of the filing of this Notice of Removal will be promptly provided to

plaintiff and filed with the Milwaukee County Circuit Court.

        WHEREFORE, defendants respectfully submit this Notice of Removal pursuant to 28

U.S.C. §§ 1331, 1441, and 1446.




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Dated at Milwaukee, Wisconsin this 28th day of September, 2020.

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